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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES,

              v.
                                                     Case No. 20-CR-55
JACOB KYLE JORDAN,

                      Defendant.




                                            ORDER

       Having considered the defendant’s motion to modify conditions of release [ECF No. 32],

and the government’s response [ECF No. 33], it is hereby ORDERED that the motion is

GRANTED. The defendant is released on personal recognizance subject to the following

conditions:

       (1) The defendant must not violate federal, state, or local law while on release.

       (2) The defendant must advise the court or the pretrial services office or supervising
       officer in writing before making any change of residence or telephone number.

       (3) The defendant must appear in court as required and, if convicted, must surrender as
       directed to serve a sentence that the court may impose.

       (4) The defendant must surrender any passport to Pretrial Services.

       (5) The defendant must report to Pretrial Services once a week.




August 24, 2020
                                                   Thomas F. Hogan
                                             SENIOR UNITED STATES DISTRICT JUDGE
